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 14                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 15                                WESTERN DIVISION
                                                Case No. 2:21-cv-04405-RGK-MAR
 16   PAUL SNITKO, JENNIFER
      SNITKO, JOSEPH RUIZ, TYLER                LOCAL RULE 37-2 JOINT
 17   GOTHIER, JENI VERDON-                     STIPULATION REGARDING
      PEARSONS, MICHAEL STORC,                  PLAINTIFFS’ MOTION TO
 18   and TRAVIS MAY,                           COMPEL DISCOVERY
                                                RESPONSES AND ENTER
 19                                 Plaintiffs, PROTECTIVE ORDER
                   v.                           (Filed Concurrently with Plaintiffs’
 20
                                                Notice of Motion to Compel;
 21   UNITED STATES OF AMERICA,                 Declarations of Robert Frommer, Victor
      TRACY L. WILKISON, in her                 A. Rodgers, and Madison MacDonald;
 22   official capacity as Acting United        Proposed Protective Order; and
      States Attorney for the Central           Proposed Order)
 23   District of California, and KRISTI        DISCOVERY MATTER
      KOONS JOHNSON, in her official            Date: March 30, 2022
 24   capacity as an Assistant Director of
      the Federal Bureau of Investigation,      Time: 10:00 A.M.
 25                                             Courtroom: 790
                                  Defendants. Judge:   Hon. Margo A. Rocconi
                                                Discovery cutoff date: TBD
 26
                                                Pre-Trial Conference Date: TBD
 27                                             Trial Date: July 26, 2022
                                                Complaint Filed: May 27, 2021
 28                                             Amended Complaint Filed: June 9, 2021

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  1         Pursuant to Rule 37 of the Federal Rules of Civil Procedure and Local Rule
  2   37-2 of the Local Rules of this Court, Plaintiffs and representatives of the certified
  3   class Paul Snitko, Jennifer Snitko, Tyler Gothier, Joseph Ruiz, Jeni Verdon-
  4   Pearsons, Michael Storc, and Travis May (collectively “Plaintiffs”) and Defendants
  5   the United States of America, Tracy L. Wilkison (in her official capacity as Acting
  6   United States Attorney for the Central District of California), and Kristi Koons
  7   Johnson (in her official capacity as an Assistant Director of the Federal Bureau of
  8   Investigation) (collectively “Defendants” or the “government”), respectfully submit
  9   the following Joint Stipulation regarding Plaintiffs’ Motion to Compel Discovery
 10   Responses and Enter Protective Order. The parties have attempted unsuccessfully to
 11   resolve their disputes and therefore respectfully seek the assistance of the Court.
 12   I.     INTRODUCTORY STATEMENTS
 13        A. Plaintiffs’ Introductory Statement
 14          On March 22, 2021, the government indiscriminately searched and seized the
 15   contents of hundreds of safe deposit boxes based on its belief that the company
 16   offering the boxes—U.S. Private Vaults, Inc. of Beverly Hills, or USPV—had
 17   engaged in wrongdoing. The government had a warrant that specifically stated that
 18   it “does not authorize a criminal search or seizure of the contents of the safety
 19   deposit boxes.” Declaration of Robert Frommer (“Frommer Decl.”) Ex. H at 65.1
 20   This was consistent with the government’s warrant application, which promised
 21   that Defendants’ search of the safe deposit boxes would “extend no further than
 22   necessary to determine ownership.” Frommer Decl. Ex. I at 68 n.40. Yet despite
 23   these restrictions, the government conducted what can only be described as a
 24   criminal investigatory search. Instead of protecting the government from claims of
 25   theft or loss, Defendants’ breaking open of otherwise secure boxes at USPV’s
 26   facility exposed the government to such claims. And despite Defendants’
 27          The Frommer Declaration is being filed at the same time as Plaintiffs’
             1

 28   motion and the parties’ Joint Stipulation.

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  1   assurances, the government’s search continued well after it identified box holders.
  2   Frommer Decl. Ex. J ¶¶ 6–15. It opened sealed envelopes. Id. It made copies of
  3   personal documents stored in boxes. Id. And it subjected all the currency it found to
  4   a sniff by a drug dog. Zellhart Decl., D.E. 51-1, at ¶ 2.
  5         This civil-rights lawsuit seeks to vindicate the Fourth Amendment rights of
  6   Plaintiffs and members of the certified class who were the victims of the
  7   government’s unconstitutional search.2 Plaintiffs seek a declaration that the
  8   government’s search of Plaintiffs’ boxes violated the Fourth Amendment, along
  9   with an order requiring Defendants to sequester the evidence they obtained during
 10   the unlawful search of Plaintiffs’ boxes (except as necessary for the limited purpose
 11   of facilitating any claims by class members for lost property) and to otherwise
 12   return or destroy the ill-gotten evidence. See MTD Order at 5–6. The Court rejected
 13   the government’s motion to dismiss this claim, id., and certified the following class:
 14         All renters of U.S. Private Vaults safe deposit boxes who (a) had
 15         property within their safe-deposit box seized by the federal government
 16         on or around March 22, 2021; (b) have identified themselves to the FBI
 17         since the seizure; and [c] have had their property returned to them.
 18   Order Re: Pls.’ Mot. for Class Cert., D.E. 78 at 5 (Oct. 12, 2021).
 19         On November 8, 2021, the Court held a scheduling conference. The Court
 20   did not enter any specific discovery deadlines, but set the case for trial on July 26,
 21   2022, with the opening trial briefs due on June 21, 2022. Minutes of Scheduling
 22   Conference, Frommer Decl. Ex. A.3 As a practical matter, then, the parties need to
 23   complete discovery by approximately mid-May 2022 to have adequate time to
 24         2
                Plaintiffs also asserted additional claims under the Fourth and Fifth
 25   Amendments, but after obtaining preliminary relief, those claims were dismissed as
      moot as the government gradually returned Plaintiffs’ property. See Order Re: Mot.
 26   to Dismiss First Am. Compl. (“MTD Order”), D.E. 75 at 6–8 (Sept. 9, 2021).
              3
                Local Rule 37-2.1 requires the parties to include an “order establishing the
 27   initial case schedule.” Other than the cited Minutes of Scheduling Conference, no
 28   other order has established a case schedule.

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  1   prepare their opening briefs. That is just over two months from the date of this
  2   filing, and only six to seven weeks from the scheduled hearing date.
  3         On November 5, Plaintiffs served their substantive interrogatories and
  4   requests for production.4 Frommer Decl. ¶ 2. Yet over four months later, the
  5   government has provided essentially nothing in response, other than the warrant
  6   application and warrant (which had already been unsealed in another action). Id.
  7   ¶¶ 10–11. The deadline to complete discovery is fast approaching, yet Defendants’
  8   delay means that discovery itself has barely begun. Plaintiffs cannot prepare for or
  9   conduct substantive depositions given that Defendants refuse to disclose who
 10   supervised and participated in the search, what guidance they employed in so
 11   searching, or even the identities of Plaintiffs’ own class members.5
 12         As discussed below in Section II.A, the government refuses to respond to
 13   Plaintiffs’ discovery because it insists that everything—even information relating to
 14   government policies and personnel—constitutes confidential information that
 15   cannot be disclosed until a protective order is entered. But no protective order can
 16   be entered because the government insists on hobbling Plaintiffs’ ability to share
 17   inventory records with class members relating to that specific class member’s box.
 18   The government’s proposed restrictions are unreasonable, and the Court should
 19   enter Plaintiffs’ Proposed Protective Order, attached as Exhibit A to this filing.
 20         As discussed below in Section II.B, Defendants’ actions have unnecessarily
 21   delayed discovery at every turn. Among other things, the government could have
 22   raised its desire for a protective order last November or December. But despite
 23   Plaintiffs’ counsel’s repeated statements about expeditiously completing discovery,
 24
            4
 25            Plaintiffs previously served limited discovery relating to class certification.
            5
               Despite Defendants’ failure to provide information relevant to identifying
 26   deponents and documents relevant to preparing for the substance of the depositions,
      Plaintiffs are researching publicly available information that would allow them to
 27   begin taking some limited depositions notwithstanding Defendants’ refusal to
 28   cooperate in discovery.

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  1   the government waited until the last possible moment to raise the issue. And even
  2   once a protective order is finally entered with just six to seven weeks remaining to
  3   conduct discovery, the government has suggested that it will still require several
  4   weeks to produce documents. This further delay would only further prejudice
  5   Plaintiffs’ ability to conduct discovery and develop a record in support of their and
  6   the certified class’s claim. The government has had plenty of time—four months as
  7   of this filing, and nearly five months by the time of the hearing—to prepare its
  8   response to Plaintiffs’ pending discovery requests. Plaintiffs therefore request that
  9   the Court order Defendants to promptly respond to all pending discovery within 3
 10   days after the protective order is entered.
 11      B. Defendants’ Introductory Statement
 12         This is a class action lawsuit against the government, in which seven named
 13   plaintiffs and representatives of the single certified class filed a six count first
 14   amended complaint. As a result of the government’s motion to dismiss plaintiffs’
 15   class action first amended complaint, five of plaintiffs’ six class claims were
 16   dismissed. Plaintiffs’ sole surviving claim, which is Count I and is asserted by the
 17   plaintiff parties to this case, namely the seven named plaintiffs and class
 18   representatives, does not seek monetary relief but instead requests a declaration that
 19   the government violated the Fourth Amendment when it inventoried the contents of
 20   the boxes at US Private Vaults (“USPV”) of boxholders whose property has been
 21   returned because the inventorying was allegedly a criminal investigatory search.
 22         As part of their sole remaining class claim, plaintiffs seek an order requiring
 23   the government to destroy the records the government created during the
 24   inventorying of the class member boxholders whose property the government has
 25   returned. In support of their arguments, plaintiffs cite bits and pieces of sentences
 26   from the search and seizure warrant and the affidavit in support thereof, but the full
 27   language of those documents, which the government discusses below, show clearly
 28   that plaintiffs’ arguments are flatly refuted by the evidence they have themselves

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  1   submitted. And finally, while plaintiffs characterize this action as a civil rights
  2   class action, this lawsuit is no more a civil rights action then any action where a
  3   party contends their Fourth Amendment rights have been violated as a result of a
  4   search or seeks to suppress evidence in a criminal case based upon a Fourth
  5   Amendment violation.
  6         The dispute which is the subject of plaintiffs’ discovery motion stems from
  7   plaintiffs’ request for a substantial deviation from the terms of the standard
  8   protective order on the Court’s website. Plaintiffs advised, in this case that has
  9   garnered significant media coverage unwanted by many non-party class members,
 10   that they want to share CONFIDENTIAL information (namely videos and written
 11   documents regarding the inventorying of box contents for boxes that contain
 12   personal identifying information of non-owners of USPV boxes),6 not only with the
 13   seven named plaintiff and party class representatives (who are supposed to
 14   represent the class), but also with the hundreds of non-party class members.
 15   Standing alone, plaintiffs’ request would be inappropriate.
 16         But plaintiffs’ request does not stand alone. The government advised
 17   plaintiffs they could share the CONFIDENTIAL information with non-party class
 18   members, but only pursuant to the terms of a protective order which, like the
 19   Court’s standard protective order on the Court’s website, provided that any non-
 20   party class members who received CONFIDENTIAL information, like anyone else
 21   mentioned in the standard Court protective order, could use that information “only
 22   for purposes of prosecuting, defending or attempting to settle this action.”
 23   However, plaintiffs rejected the government’s stipulated protective order that
 24   mirrored the Court’s standard website protective order. Further, the government
 25   proposed protective order provides, like the Court’s standard website order, that a
 26         6
              The government’s production of this information, absent a protective order
 27   would violate the Privacy Act, thus subjecting the government to civil and criminal
      penalties, and the privacy rights of third persons who are not parties to this case or
 28   owners of any USPV box.

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  1   recipient of CONFIDENTIAL information could seek, either via negotiation or by
  2   petitioning the Court, an order that the CONFIDENTIAL information designation
  3   be removed. However, the government’s proposal was nevertheless rejected.
  4         In this action that does not seek monetary relief, plaintiffs’ request that the
  5   Court should now decide, in the protective order for this case, that recipients of
  6   CONFIDENTIAL information should be entitled to use that information in future
  7   lawsuits (none of which have been filed) is entirely inappropriate. Indeed,
  8   plaintiffs’ motivation appears to be based not on any legitimate effort to prosecute
  9   this case, but instead based on a related, but dismissed case, in which a boxholder
 10   sought monetary damages for property the boxholder claimed the government lost
 11   during the inventorying process. However, the request for the inventory, as the
 12   government has advised, can be made by any boxholder who seeks monetary relief
 13   for allegedly lost or missing property as part of a future administrative tort claim or
 14   judicial tort claim against the government. The government cannot say in advance
 15   (as plaintiffs demanded it should), without knowing anything about any future
 16   claim, whether production of a inventory containing third party information will be
 17   produced and under what type of protection.
 18         Finally, plaintiffs appear to attempt to improperly expand their motion to
 19   specific interrogatory and document requests. However, plaintiffs have not
 20   bothered to comply with Local Rule 37 as to those requests in that they have failed
 21   to specify each interrogatory and document request they claim to be at issue, nor do
 22   they bother to set forth their or the government’s contentions as to each specific
 23   request. Accordingly, to the extent plaintiffs seek anything other than an order
 24   regarding the terms of the protective order to be entered in this case, plaintiffs’
 25   motion should be denied.
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  1   II.     ISSUES IN DISPUTE
  2         A. Entry Of Protective Order Governing The Exchange Of Confidential
  3               Information
  4           The parties’ dispute concerns Defendants’ desire to keep Plaintiffs from
  5   sharing inventories of class members’ USPV boxes with those specific class
  6   members so that they may press claims for the loss or theft of their property.
  7   Plaintiffs’ Proposed Protective Order is Exhibit A to this filing, Defendants’
  8   Proposed Protective Order is Exhibit B, and a redline between the two is Exhibit C.
  9   The language of the provision where the parties disagree follows.
 10           1. Plaintiffs’ Proposed Language Regarding Sharing Confidential
 11                 Information With Class Members
 12                   7.1   Basic Principles. A Receiving Party may use Protected Material
 13           that is disclosed or produced by another Party or by a Non-Party in
 14           connection with this Action only for prosecuting, defending or attempting to
 15           settle this Action. * * *
 16                   7.2   Disclosure of “CONFIDENTIAL” Information or Items. Unless
 17           otherwise ordered by the court or permitted in writing by the Designating
 18           Party, a Receiving Party may disclose any information or item designated
 19           “CONFIDENTIAL” only to: * * *
 20                         (j) a class member to this Action who has signed Exhibit A[7],
 21           provided that the disclosure of such CONFIDENTIAL Information or Items
 22           shall be limited to records reflecting the inventorying of the contents of that
 23           specific class member’s safe deposit box at US Private Vaults, and further
 24           provided that any such class member shall not be prohibited from disclosing
 25           to the federal government any CONFIDENTIAL Information received from
 26
              7
               According to the agreed-upon language of the Protective Order, Exhibit A
 27   refers to the “Acknowledgment and Agreement to Be Bound” that is attached to the
 28   Protective Order.

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  1         Defendants or from using the information to file claims with or otherwise
  2         exercise the class member’s rights to seek relief from the federal government.
  3         2. Defendants’ Proposed Language Regarding Sharing Confidential
  4             Information With Class Members
  5               7.1    Basic Principles. A Receiving Party may use Protected Material
  6         that is disclosed or produced by another Party or by a Non-Party in
  7         connection with this Action only for prosecuting, defending or attempting to
  8         settle this Action. * * *
  9               7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
 10         otherwise ordered by the court or permitted in writing by the Designating
 11         Party, a Receiving Party may disclose any information or item designated
 12         “CONFIDENTIAL” only to: * * *
 13                      (j) a class member to this Action to whom disclosure is
 14         reasonably necessary for this Action and who has signed Exhibit A and for
 15         whom the signed Exhibit A has been provided to Counsel for the Producing
 16         Party prior to the disclosure, provided that the disclosure of such
 17         CONFIDENTIAL Information or Items shall be limited to records reflecting
 18         the inventorying of the contents of that specific class member’s safe deposit
 19         box at US Private Vaults.
 20         3. Plaintiffs’ Contentions
 21             a. Sharing Inventory Information With Class Members Is
 22                 Important To This Case And Preserves Important Rights Of
 23                 Absent Class Members
 24         This case centers on the constitutionality of the government’s indiscriminate
 25   search of the large number of safe deposit boxes rented by Plaintiffs and class
 26   members. The government contends that it conducted an inventory search of the
 27   hundreds of safe deposit boxes it seized because it needed to “protect their agencies
 28   from claims of theft or damage.” Frommer Decl. Ex. I at 67. But that explanation

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  1   has never made sense, since breaking into locked boxes makes them less secure and
  2   exposes the government to claims of theft of damage. And it is contrary to the
  3   government’s own statement that it was “examin[ing] the specific facts of each
  4   box” to “distinguish between honest and criminal customers.” Gov’t Opp. to Ex
  5   Parte Appl. For Temp. Restraining Order at 10, Doe v. United States, No. 2:21-cv-
  6   02803, Doc. No. 15 at 11 (Apr. 2, 2021).
  7         It is no surprise then that Defendants’ criminal investigatory search, which it
  8   conducted under the guise of an inventory search, yielded—at best—highly
  9   incomplete inventories of the boxes. Some valuable property, for example, was only
 10   catalogued in vague terms such as “Misc. coins.” See Frommer Decl. Ex. K ¶ 8; Ex.
 11   L at 108. And even now the government tellingly denies having possession of “an
 12   inventory reflecting the contents of all safe deposit boxes held at” USPV at the time
 13   of the seizure. Frommer Decl. Ex. M at 111 (government response to Request for
 14   Admission No. 1). A central topic of discovery therefore will be the nature of the
 15   government’s search of the boxes: how the search was conducted; what inventory
 16   records, if any, were created; and whether those records are legitimate inventories
 17   or instead perfunctory notes created in the rush of the government’s investigatory
 18   search.
 19         In connection with this discovery, Plaintiffs’ counsel may seek to share
 20   information about the purported inventories with class members for at least two
 21   reasons. First, Plaintiffs’ counsel needs the discretion to share inventory records
 22   from a specific class member’s safe deposit box with that class member as part of
 23   Plaintiffs’ factual investigation. The class member, for example, may be able to help
 24   Plaintiffs’ counsel understand whether the government’s inventory was full and
 25   complete. Cf. Theidon v. Harvard Univ., 314 F.R.D. 333, 336 (D. Mass. 2016)
 26   (restrictions on disclosure, such as attorneys’-eyes-only designations, should be
 27   limited “because it hinders the plaintiff’s ability to aid counsel in the review of the
 28   evidence and to determine her litigation strategy in light of it”).

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  1         Second, and more importantly, the few inventories that have been made
  2   public have led to credible assertions that property seized by the government has
  3   been lost, misplaced, or stolen. For example, a “semi-retired octogenarian” received
  4   most of her property back but reported that an estimated $75,000 in gold coins were
  5   missing. Frommer Decl. Ex. K ¶¶ 2, 8–9. Plaintiffs Jeni Verdon-Pearsons and
  6   Michael Storc have likewise reported to Plaintiffs’ counsel that the return of their
  7   property failed to include approximately $2,000 they had kept in their box.
  8   Frommer Decl. ¶ 15.
  9         Plaintiffs’ counsel knows about other class members in similar positions. Id.
 10   And it is likely that, as the government’s inventory records are examined more
 11   thoroughly, Plaintiffs and class members will discover additional instances in which
 12   property seized by the government has been lost, misplaced, or stolen. When that
 13   happens, class members would be severely prejudiced if they cannot use that
 14   information to file a claim with the government to seek relief for their missing
 15   property.
 16               b. It Is Unreasonable To Prohibit Class Members From Using
 17                  Inventory Information Supplied By The Government About A
 18                  Class Member’s Box To Assert A Claim Against The Government
 19         When discussing the scope of the protective order, Plaintiffs’ counsel
 20   explained that they “cannot agree to language preventing class members from using
 21   those records when making any claim against the government regarding property
 22   they allege has gone missing.” Frommer Decl. Ex. G at 51. Defendants responded
 23   that it was inappropriate to allow a class member to use inventory records produced
 24   in discovery here to submit a claim against the government. Instead, the
 25   government urged that such class members could instead “mak[e] a claim against
 26   the government, should they choose to do so, and seek whatever information, such
 27   as the inventory, they deem appropriate as part of that claim process.” Id. at 50.
 28   Plaintiffs’ counsel asked Defendants to verify that they would produce inventory

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  1   records to class members during that claim process, but the government refused. It
  2   said that even if such class members did file a claim, the government still might not
  3   provide those class members with inventory records for their own boxes, suspecting
  4   that “in some cases it would and in others it would not.” Id. at 49.
  5         There is no basis to prohibit a class member for taking information about
  6   their own box that was provided by the government and sharing that information
  7   with the government. First, Plaintiffs’ counsel would only share information with a
  8   class member relating to that class member’s own box. The class member would
  9   already know the contents of their box, so nothing personally sensitive or
 10   confidential would be revealed. The only new information would be about the
 11   government’s conduct: how the government searched the box and how it recorded
 12   what it took. Similarly, because the government itself created and disclosed the
 13   inventory records, there can be no harm in a class member using that information to
 14   assert a claim against the government or to otherwise exercise his or her rights to
 15   seek relief from the government. The only reason to block class members from
 16   using information about their own boxes is to shield the government from
 17   accountability. That is not an appropriate basis for a protective order. See, e.g.,
 18   Glenmede Tr. Co. v. Thompson, 56 F.3d 476, 485 (3d Cir. 1995) (“courts should not
 19   provide a shield to potential claims by entering broad protective orders that prevent
 20   public disclosure of relevant information”); Marisol A. v. Giuliani, No. 95-cv-
 21   10533, 1997 WL 630183, at *5 (S.D.N.Y. Oct. 10, 1997) (protective orders are not
 22   appropriate means to shield government from bad publicity).
 23         Second, prohibiting class members from using information about their own
 24   boxes to assert claims against the government defies Ninth Circuit guidance that
 25   “strongly favors access to discovery materials to meet the needs of parties engaged
 26   in collateral litigation.” Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122,
 27   1131 (9th Cir. 2003). Defendants’ position would leave class members vulnerable to
 28   learning that they have a potential claim, but with no way to assert that claim. And

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  1   even if they could somehow file a claim without using the government’s inventory
  2   information, they risk being unable to prove that claim, since the government
  3   expects that “in some cases . . . it would not” disclose a box holder’s inventory
  4   information to the box holder in response to a claim. Frommer Decl. Ex. G at 49.
  5   The Court should reject the government’s request to protect itself against valid
  6   claims of loss or theft by frustrating class members’ ability to assert collateral
  7   claims. Foltz, 331 F.3d at 1131; Glenmede Tr. Co., 56 F.3d at 485.
  8             c. It Is Unreasonable To Require Plaintiffs’ Counsel To Tell The
  9                 Government When They Discuss Inventory Information With
 10                 Class Members
 11         Plaintiffs do not object to requiring class members to sign the Protective
 12   Order’s Exhibit A and to agree to be bound by the Protective Order. But it is not
 13   reasonable to require Plaintiffs’ counsel to provide signed copies of Exhibit A to the
 14   government before disclosing inventory information about a class member’s own
 15   box with that class member. This essentially asks Plaintiffs’ counsel to tell the
 16   government which boxes they are targeting for further factual development,
 17   revealing details about Plaintiffs’ case development and trial preparation strategy.
 18   Forcing Plaintiffs’ counsel to divulge these details violates basic tenets of the
 19   adversarial process. See, e.g., Fed. R. Civ. P. 26(b)(3)(B) (courts “must protect
 20   against disclosure of the mental impressions, conclusions, opinions, or legal
 21   theories of a party’s attorney or other representative concerning the litigation”). It
 22   also risks exposing class members—who have already suffered the search and
 23   prolonged seizure of their property—from additional unwanted attention after the
 24   government has already labelled “the majority” of them to be “criminals.” Gov’t
 25   Opp. to Ex Parte Appl. For Temp. Restraining Order at 10, Doe v. United States,
 26   No. 2:21-cv-02803, Doc. No. 15 at 11 (Apr. 2, 2021).
 27         The government’s argument that it needs copies of Exhibit A to “police”
 28   potential violations of the protective order (Frommer Decl. Ex. G at 50), only

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  1   repeats the government’s history of unjustifiably assuming class members’
  2   lawlessness. The government is happy to permit others, including experts, trial
  3   consultants, mock jurors, and other vendors to access confidential information after
  4   signing Exhibit A, with no similar requirement to provide a copy of Exhibit A to the
  5   government. This difference is telling, especially because these other individuals
  6   would have access to a broad range of Confidential Information, while a class
  7   member would have access only to a narrow range of information about the
  8   inventory of their own box. There is no justification for selectively requiring
  9   disclosure to the government about class members (who are only viewing
 10   information about their own box) and no one else.
 11         4. Defendants’ Contentions
 12             a. Plaintiffs’ Arguments In The Title To Section II.A.3.a Of
 13                  Plaintiffs’ Contentions That Sharing Information With Class
 14                  Members Is Important To This Case And Preserves Important
 15                  Rights Of Absent Class Members Is Incorrect And In Any Event
 16                  Is Not Relevant To The Subject Matter Of The Parties’ Discovery
 17                  Dispute, Which Pertains Solely To The Terms Of The Protective
 18                  Order Governing Discovery For This Case.
 19         In the title to plaintiffs’ contentions Section II.A.3.a., plaintiffs argue that
 20   “sharing inventory information with class members is important to this case,” yet
 21   plaintiffs offer virtually nothing to show this is so, and that “sharing inventory
 22   information . . . preserves important rights of absent class members,” yet plaintiffs
 23   do not bother to explain why preservation of these rights has anything to do with
 24   the legitimate prosecution of the instant case.
 25         Plaintiffs begin by inaccurately suggesting that the government’s search and
 26   seizure warrant affidavit relative to USPV provides that the government conducted
 27   the inventory of safe deposit boxes at USPV solely because the government needed
 28   to “protect their agencies from claims of theft or damage.” See Plaintiffs Joint

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  1   Statement Section II.A.3.a. (citing Frommer Decl. Ex. I at 67). However, the
  2   affidavit on its face plainly provides this is not so and explicitly states that there
  3   were multiple reasons for government’s inventorying of the safe deposit boxes
  4   during the execution of the search and seizure warrants at USPV. The affidavit
  5   provides as follows:
  6         Agents will follow their written inventory policies to protect their
  7         agencies from claims of theft or damage to the contents of the boxes,
  8         and to ensure that no hazardous items are unknowingly stored in a
  9         dangerous manner. Agents will attempt to notify the lawful owners of
 10         the property stored in the boxes how to claim their property, such as by
 11         posting that information on the internet or at USPV itself, or by
 12         contacting the owners directly. In order to contact the owners directly,
 13         agents will, in accordance with their policies regarding an unknown
 14         person’s property, look for contact information or something which
 15         identifies the owner.
 16   Frommer Decl. Ex. I at 67-68 (emphasis added and footnote omitted). Accord,
 17   Frommer Decl. Ex. H (attachment to seizure warrant) at 65 (“agents shall follow
 18   their written inventory policies to protect their agencies and the contents of the
 19   boxes. Also in accordance with their written policies, agents shall inspect the
 20   contents of the boxes in an effort to identify their owners in order to notify them so
 21   that they can claim their property”) (emphasis added).
 22         Before conducting the search, agents considered the possibility that USPV
 23   boxes could contain dangerous or hazardous materials such as fentanyl (which they
 24   found), loaded weapons (which they found), other drugs (which they found) and
 25   explosives (which they did not find). MacDonald Decl. ¶ 3. Accordingly,
 26   plaintiffs’ suggestion that the government contends that the sole reason for the
 27   inventory was to protect the agencies from theft or damage to the box contents is
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  1   simply not true and belied by the evidence plaintiffs themselves submit (Frommer
  2   Decl. Ex. I) to support their arguments.
  3         Starting from the flawed premise that protection of the agents from theft
  4   claims was the sole reason for inventorying, plaintiffs next state Plaintiffs’ counsel
  5   needs the discretion to share inventory records with non-named party class
  6   members for two reasons: to help with plaintiffs’ factual investigation by
  7   ascertaining first, whether the government’s inventory was full and complete
  8   (because plaintiffs state in Section II.A.3.a. that the government’s inventory records
  9   are possibly merely “perfunctory notes created in the rush of the government’s
 10   investigatory search”) and second, which plaintiffs say is “more importantly,” the
 11   few inventories made public have led to credible assertions that the government
 12   lost, misplaced or stole property from class members’ boxes. Neither argument has
 13   anything to do with the matter in dispute relative to this motion, namely the terms
 14   of the protective order to be entered in this case.8 Nevertheless, the government
 15   addresses below the arguments plaintiffs raise in plaintiffs’ contention Section
 16   II.A.3.a.
 17         Plaintiffs’ first argument does not advance their contention that they need to
 18   share inventories with class members to determine whether the inventory is “full
 19   and complete.” Nowhere do plaintiffs explain how a review of an inventory will
 20   show whether the government’s inventory of a particular box was accurate. If an
 21   item was not returned to a class member, that class member already knows it. In
 22   addition to actually having the physical items returned to them, each class member
 23

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              Indeed, Section IIA of the Joint Statement, titled “Issues in Dispute - - Entry
      Of Protective Order Governing the Exchange Of Confidential Information,” sets
 25   forth the parties respective provisions for the joint statement and notes “[t]he
      parties’ dispute concerns Defendants’ desire to keep Plaintiffs from sharing
 26   inventories of class members’ USPV boxes with those specific class member so
      that they (i.e., the class members) can press claims for the loss or theft of their
 27   property.”

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  1   has a receipt from the FBI detailing the items that the FBI returned and (as
  2   explained below) therefore already knows whether the government’s inventory was
  3   full and complete.
  4         Plaintiffs own evidence shows this is so. Members of the class include only
  5   those USPV boxholders whose property has been returned to them.9 Plaintiffs offer
  6   the declaration of an attorney submitted in another case,10 which notes that Exhibit
  7   B thereto was the receipt for the FBI’s return of property given to the attorney when
  8   the attorney retrieved boxholder Dr. R’s property from the FBI, and the attorney
  9   declares that “the agents also stated [to the attorney] that the description of the
 10   property on the property receipt was copied from the property inventory per FBI
 11   policy.” Frommer Decl. Ex. K at 103-104 (attorney declaration ¶¶ 8 and 10) and
 12   Ex. L at 107-108 (Ex. B to attorney declaration). Because class members whose
 13   property has been returned were given an FBI property receipt (MacDonald Decl.
 14   ¶ 2) which plaintiffs assert mirrors the inventory, those class members already know
 15   whether the inventory was full and complete. Moreover, as plaintiffs own papers
 16   advise in Section II.A.3.b. of plaintiffs’ contentions) “class member[s] already
 17   know the contents of their boxes,” so plaintiffs’ counsel’s contention that the
 18   inventories need be shared with non-party class members to determine whether the
 19   inventories are complete falls flat.
 20         This is plaintiffs only argument that has any bearing on plaintiffs claim that
 21   sharing information is somehow important to this case, as they argue in the heading
 22

 23         9
              See Docket No. 78 (Court’s Order Re: Plaintiffs’ Motion for Class
 24   Certification) at page 5 (noting that the modified proposed and certified class
      consists of “All renters of U.S. Private Vaults safe deposit boxes who (a) had
 25   property within their safe-deposit box seized by the federal government on or
      around March 22, 2021; (b) have identified themselves to the FBI since the seizure;
 26   and (3) (sic) have had their property returned to them.” (emphasis added).

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              That case is In re Search and Seizure of Box No. 8309 at U.S. Private
      Vaults v. United States of America, Case No. 2:21-cv-03554-RGK-MAR.
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  1   in Section II.A.3.a. of Plaintiffs’ Contentions.11 Plaintiffs second argument,
  2   namely that class members will be prejudiced if they must under the protective
  3   order use the items the government produces solely for purposes of this case, has to
  4   do with the argument plaintiffs raise in Plaintiffs’ Contentions section II.A.3.b. and
  5   will therefore be addressed below.
  6                b. Plaintiffs’ Argument That It Is Unreasonable For The Protective
  7                   Order To Prohibit Class Members From Using Inventories,
  8                   Designated As Confidential Information Under the
  9                   Government’s Requested Protective Order (Which Is Modeled
 10                   After the Court’s Website Order), To File Claims Against The
 11                   Government Ignores That Such A Prohibition Is Specifically
 12                   Provided In The Court’s Standard Website Protective Order.
 13          The discovery dispute plaintiffs raise pertains to a single matter - - the
 14   language of the protective order to be entered in this case. Plaintiffs argue, contrary
 15   to the terms of the Court’s standard protective order and the government’s proposed
 16   protective order provided to plaintiffs, that class members, who receive written and
 17   videotapes of the government’s inventorying of USPV safe deposit boxes, should
 18   be able to ignore the requirement that CONFIDENTIAL information be used solely
 19   for purposes of the action. None of plaintiffs’ arguments advance their position in
 20   this case.
 21                     (I)    The Provision Requiring Use Of CONFIDENTIAL
 22                            Information Solely For Purposes Of The Litigation Is
 23          11
                Plaintiffs make one additional argument, again having nothing to do with
 24   the protective order’s terms, but nevertheless mischaracterizes the facts. While
      plaintiffs note that the government denied on August 20, 2021 a request for
 25   admission that the government has possession of “an” inventory containing the
      contents of “all” safe deposit boxes at USPV, the fact is that the government does
 26   not have a single inventory of contents of all the boxes, so the request for admission
      was properly denied, and the government does not have an “inventory” but instead
 27   prepared documents as a result of inventorying the contents of individual USPV
      safe deposit boxes.
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  1                          Standard As Is The Provision Permitting A Party
  2                          Receiving Such Information To Request That The
  3                          CONFIDENTIAL Designation Be Withdrawn.
  4         The government provided plaintiffs with a stipulated protective order
  5   modeled after the Court’s standard protective order on the Court website. Copies of
  6   the proposed stipulated protective order provided to plaintiffs by the government
  7   and the Court’s website standard protective order are attached as Exhibits A and B
  8   to the Rodgers Declaration. Both protective orders require that anyone, whether a
  9   Party to the Action or a Non-Party to the Action,12 receiving Protected Material,
 10   which is defined to include “any Disclosure or Discovery Material that is
 11   designated as ‘CONFIDENTIAL’ ” (see Rodgers Decl. Ex. A, gvt. protective order
 12   at ¶ 2.12 and Ex. B, Court protective order at ¶ 2.14) can use the information they
 13   receive “only for purposes of prosecuting, defending or attempting to settle this
 14   action.” Rodgers Decl. Ex. A and B at ¶ 7.1.13 In addition, while the Court’s
 15   standard protective order authorizes the providing of CONFIDENTIAL information
 16   in certain limited circumstances to third parties, such as mutually acceptable Court
 17   mediators and jurors and during the deposition of a deponent, the third party
 18   recipients of the CONFIDENTIAL information are required to sign Exhibit A to the
 19

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 21            The seven named class representative plaintiffs are a Party to the action
      while anyone else (like the class members who are not plaintiffs) is a Non-Party to
 22   the action. Rodgers Decl. Ex. A (gvt’s stipulated protective order at ¶¶ 2.8 and 2.9)
      and Ex. B (Court’s stipulated protective order at ¶¶ 2.9 and 2.11).
 23
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               Paragraph 7.1 refers to the “Receiving Party’s”, which is defined in
 24
      paragraph 2.14 (Ex. A) and paragraph 2.15 (Ex. B) as a “Party that receives a
 25   Disclosure or Discovery Material from a Producing Party[,] [i.e., CONFIDENTIAL
      information” which means the seven named class representative plaintiffs are each
 26   a Receiving Party. Non-party class members are also bound by this provision,
      pursuant to the requirement that the execute Exhibit A to the protective order,
 27   discussed below, that requires them to “comply with and be bound by all the terms
 28   of [the] Stipulated Protective Order.”

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  1   standard protective order, which is an Acknowledgement and Agreement to be
  2   Bound. Rodgers Decl. Exs. A and B ¶ 7.2.
  3         The Exhibit A Acknowledgement specifically provides that the
  4   CONFIDENTIAL information recipient/signer has read the stipulated protective
  5   order in its entirety, agrees to be bound by the protective order’s provisions (which
  6   includes that CONFIDENTIAL information can be used solely for purposes of
  7   prosecuting, defending or attempting to settle the Action), acknowledges that the
  8   failure to comply with the protective order could impose the recipient/signer to
  9   sanctions and punishment and contempt, and requires the recipient/signer to appoint
 10   a person as the recipient/signer’s California agent for service of process pertaining
 11   to any proceedings related to the enforcement of the stipulated protective order
 12   (because absent that appointment of an agent upon which to serve the contempt
 13   papers, the party disclosing the CONFIDENTIAL information has no means to
 14   enforce violations of the stipulated protective order). Accordingly, the clear terms
 15   of the Court’s standard and the government’s proposed stipulated protective order
 16   makes clear that recipients of CONFIDENTIAL information can use that
 17   information solely for purposes of the instant litigation.
 18         Furthermore, plaintiffs completely ignore the fact that, should any class
 19   member to whom CONFIDENTIAL information is given dispute whether the
 20   information is, in fact, confidential, the Court’s standard and the government’s
 21   stipulated protective order specifically authorizes the recipient to seek relief from
 22   the CONFIDENTIAL designation. The Court’s standard (and the government’s)
 23   stipulated protective order allows “Any Party” or “Non-Party” to challenge a
 24   designation of confidentiality and places “the burden of persuasion in any such
 25   challenge proceeding . . on the Designating Party.” Rodgers Decl. Exs. A and B
 26   ¶¶ 6.1, 6.2 and 6.3. In light of the fact that the Court’s standard and the
 27   government’s protective order precludes use of CONFIDENTIAL information for
 28   purposes other than the instant proceeding and the ability of a party to seek relief

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  1   from a CONFIDENTIAL designation, plaintiffs’ request that class members who
  2   receive CONFIDENTIAL information be relieved of these restrictions evinces an
  3   entirely improper purpose that plaintiffs seek the production of this information - -
  4   namely, to assist persons to file future claims against the government.
  5                    (II)    The Need To Prosecute Future Lawsuits For Monetary
  6                            Relief For Allegedly Missing Or Lost Property Does Not
  7                            Warrant Modification Of The Court’s Standard
  8                            Protective Order.
  9          While plaintiffs first amended complaint alleged six class claims, the only
 10   class claim which survived the government’s motion to dismiss is Count I. Docket
 11   No. 33 (FAC ¶¶ 152-171) and Docket No. 75 (Court order granting government’s
 12   motion to dismiss in part, and dismissing plaintiffs’ second, third, fourth, fifth and
 13   sixth class claims). In Count I, plaintiffs allege that the government violated class
 14   members’ Fourth Amendment rights (FAC ¶ 166), seek a declaration that seizure of
 15   class members boxes violated the Fourth Amendment (FAC ¶ 168) and seek an
 16   order that “all records Defendants created during their criminal search of USPV
 17   customers’ security deposit boxes, other than those records necessary for reuniting
 18   property owners with their property, be destroyed and/or returned to their owners”
 19   (FAC ¶ 170). This is not a class action for monetary damages for property that
 20   boxholders allege was lost, missing or stolen, but instead a lawsuit for declaratory
 21   relief and destruction of records.
 22         Plaintiffs’ expressed intent to use the inventories for purposes of future
 23   claims or litigation for monetary damages for lost property (which standing alone is
 24   inappropriate) appears to stem not from any genuine effort to prosecute the instant
 25   class action lawsuit, but instead to aid in a lawsuit another boxholder filed against
 26   the government, and then dismissed after consulting with plaintiffs’ counsel. See
 27   Mellein et al. v. United States of America, et al., Case No. 2:21-cv-06588-RGK-
 28   MAR. In the dismissed lawsuit, the husband and wife plaintiff-boxholders claimed

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  1   the government lost coins stored in their USPV box and, on December 20, 2021,
  2   filed a motion for a preliminary injunction (instead of serving a document request)
  3   for an order requiring the government to produce any inventory of their box, and
  4   noted in the moving papers their December 9, 2021 consultation with plaintiffs’
  5   counsel in the instant class action case. Rodgers Decl. Ex. C (docket no. 35
  6   [preliminary injunction motion] at footnote 2 on page 4 of 6) and Ex. D (docket no.
  7   35-1 [plaintiffs’ attorney in Mellein declaration] in ¶ 7 at page 2 of 2).
  8         On January 27, 2022, the government provided plaintiffs’ class counsel with
  9   the government’s proposed protective order (Frommer Decl. Ex. G, at 54-55) then,
 10   without waiting for a ruling by the Court on their motion for a preliminary
 11   injunction or the government’s motion to dismiss plaintiff Mellein’s first amended
 12   complaint (which also sought production of the inventory),14 plaintiff Mellein filed
 13   a notice of dismissal of the action on February 4, 2022. Rodgers Decl. Ex. E
 14   (docket no. 54 [notice of dismissal]). Accordingly, and consistent with the cases
 15   plaintiffs themselves cite (as discussed below), if a claim or lawsuit is filed against
 16   the government for missing property, the plaintiff in that future lawsuit (and not, as
 17   plaintiffs seem to be arguing here to warrant a modification of a standard protective
 18   order in the present case by predicting the course of unknown future events) can
 19   seek to include themselves within the purview of the instant protective order and
 20   seek relief from its terms if appropriate.
 21         Plaintiffs make much of the fact that the government would not agree, in
 22   advance of any class member actually asserting a claim or filing a lawsuit for
 23   monetary damages for missing, lost or stolen property, that the government would
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            14
 25            Plaintiff Mellein’s initial complaint contained a claim for relief under the
      Federal Torts Claims Act for monetary damages against the government for coins
 26   they asserted the government lost during the inventory of their USPV safe deposit
      box. Docket No. 1 in case, Second Cause of Action at page 27. After the
 27   government moved to dismiss the complaint, plaintiff filed no opposition but
 28   instead filed a first amended complaint.

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  1   automatically turnover any inventory relative to the future claimant/litigant’s box.
  2   Plaintiffs’ Contentions Section II.A.3.b. (first paragraph). The government does
  3   not know whom, if anyone, might file any such claim or lawsuit, nor the contents of
  4   any such future claim or lawsuit and therefore cannot affirmatively state in advance
  5   whether it will produce video and/or written inventories as part of some unknown
  6   future claim or lawsuit. That position is entirely reasonable.
  7         Before filing a lawsuit in federal court under the Federal Tort Claims Act
  8   (the “FTCA”) for monetary damages for missing, lost or stolen property, a party
  9   must first submit an administrative tort claim with the appropriate government
 10   Federal agency (here, the FBI) for monetary damages for the allegedly lost
 11   property. See 28 U.S.C. § 1346(b) (waiver of government’s sovereign immunity
 12   for certain tort claims) and 28 U.S.C. § 2675(a) (“[a]n action shall not be instituted
 13   against the United States for money damages for injury or loss of property . . .
 14   unless the claimant shall have first presented the claim to the appropriate Federal
 15   agency and his claim shall have been finally denied by the agency . . .”).15 The
 16   submission of the administrative tort claim is simple, but the standard submission
 17   form (Standard Form 95, easily accessible on public websites) warns the submitter
 18   of the penalties for submitting false claims, requires the submitter to assert their
 19   ownership of the items and provide evidence supporting their submission.16 But
 20         15
                See also McNeil v. United States, 508 U.S. 106, 111 (1993) (affirming
 21   district court’s dismissal of FTCA action and noting that language in 28 U.S.C.
      § 2675(a) requiring the exhaustion of administrative remedies “is unambiguous.
 22   We are not free to rewrite the statutory text”); Vacek v. U.S. Postal Serv., 447 F.3d
      1248, 1250 (9th Cir. 2006) (affirming the district court’s dismissal of a FTCA
 23   action for lack of subject matter jurisdiction, and noting “[w]e have repeatedly held
      that the exhaustion requirement is jurisdictional in nature and must be interpreted
 24
      strictly[]”).
 25         16
               Publicly available regulations describe the administrative tort proceedings.
 26   See 28 C.F.R. § 14.2(a) (“a claim shall be deemed to have been presented when a
      Federal agency receives from a claimant . . . an executed Standard Form 95 [which
 27   warns the claimant about civil and criminal penalties for presenting fraudulent
 28   claims] or other written notification of an incident, accompanied by a claim for
                                                                                  (continued…)
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  1   plaintiffs’ request that the government acknowledge what it will do in future
  2   administrative tort claims or future lawsuits is completely inappropriate, and does
  3   not justify deviation from the Court’s standard protective order.
  4         Plaintiffs other argument, that there is no basis to prohibit a class member
  5   from using information produced in discovery by the government, for any future
  6   claim or lawsuit that class member may file, similarly fails. First, this is a class
  7   action, for which there are seven named plaintiffs who are representatives for the
  8   plaintiff class and are supposed to be in a position to prosecute this case on behalf
  9   of the hundreds of class members. The seven plaintiffs are included as “Parties”
 10   under the protective order entitled to review CONFIDENTIAL information but
 11   subject to the restrictions of the standard protective order and those class members’
 12   individual claims are supposed to be typical of all members of the class. See Fed.
 13   R. Civ. P. 23(a)(3) (requiring that claims of class representatives be typical of the
 14   claims of the class they represent). Those class representative plaintiffs, under the
 15   standard protective order, are already subject to the Court’s jurisdiction and the
 16   government already has the information it needs to file a contempt motion against
 17   those plaintiffs should any of them violate the protective order.
 18                    (III) The USPV Boxes Contain Personal Identifying
 19                           Information And Other Information Belonging To Third
 20                           Party’s Having No Ownership Interest In The Box.
 21         Significantly, the inventorying of the contents of particular boxes at USPV
 22   will often reflect not only personal identifying information of the box owners, but
 23   (…continued)
      money damages in a sum certain for injury to or loss of property . . .”); 28 C.F.R.
 24
      § 14.4(c) (noting that claimant may be required to submit, among other things, “(1)
 25   Proof of ownership [and] (2) A detailed statement of the amount claimed with
      respect to each item of property”); 28 C.F.R. § 14.6(a) (regarding dispute resolution
 26   techniques, and noting “The administrative process established pursuant to 28
      U.S.C. § 2672 and this part 14 is intended to serve as an efficient effective forum
 27   for rapidly resolving tort claims with low costs to all participants”).
 28

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  1   also personal identifying information of third parties, prohibited from disclosure for
  2   that fact alone and also under the Privacy Act absent entry of a protective order
  3   (See 5 U.S.C. § 552a(b)(11) and discussion below).
  4         During the inventorying of the contents of the boxes and videotaping of the
  5   process, officers sometimes found an Executor/Conservator Notification letter,
  6   which provides a section for the box owner to set forth the residence address of the
  7   Executor, a different person, whom (according to the document) the boxholder
  8   authorized USPV to contact in the event of the boxholder’s death or mental
  9   incompetence. MacDonald Decl. ¶ 4 and Ex. A. In addition, officers found in one
 10   box copies of over 25 passports, none of which were in the name of the boxholder,
 11   and those copies contained pictures of the passport holders, their dates of birth,
 12   places of birth, and the issuance and expiration dates for the passports. Id. at ¶ 4.
 13   The government cannot release that third party information without a protective
 14   order that prohibits the parties and any class member to whom an inventory is
 15   shared from disclosing the third party personal identifying information publicly.
 16   Indeed, the Privacy Act allows for criminal penalties for violation of its terms. See
 17   5 U.S.C. § 552a(i)(1) (officer or employee of an agency who releases information
 18   without notice protected by the Privacy Act is subject to criminal penalties) and 5
 19   U.S.C. § 552a(b)(11) (release of Privacy Act information requires entry of
 20   protective order). And, in order to police violations of the protective order
 21   provision, as more fully discussed in subsection c. below, the government must
 22   have the signed Exhibit A of non-party class members with whom plaintiffs desire
 23   to share the inventories.
 24         Accordingly, there is nothing unreasonable in requiring a protective order
 25   treating non-party class members, like the named parties and anyone else who is
 26   given CONFIDENTIAL information in discovery in this case, from using
 27   information solely for purposes of this litigation. That is exactly what the Court’s
 28   standard protective order requires.

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  1                    (IV) The Privacy Act Bars Requires That The Government
  2                           Obtain A Protective Order Before Releasing Privacy Act
  3                           Information And Plaintiffs’ Cited Case Does Not
  4                           Support Deviating From The Standard Protective Order
  5                           In This Case Based On The Possibility Of Future
  6                           Lawsuits.
  7         Plaintiffs argue that the government is only seeking a protective order to
  8   “shield the government from accountability.” Not so. As discussed below, the
  9   Privacy Act requires that the government protect records that reflect some quality
 10   or characteristic of the individuals involved and are retrievable using identifying
 11   particulars in a government system. The discovery at issue here falls squarely
 12   within the restrictions of the Privacy Act and precludes production of the requested
 13   information until a protective order is entered in this case.
 14         The Privacy Act, 5 U.S.C. § 552a et seq., requires that the government
 15   protect personal information related to boxholders at USPV. In the Ninth Circuit,
 16   records protected by the Privacy Act comprise those that “reflect some quality or
 17   characteristic” of the individual involved. Unt v. Aerospace Corp.,765 F.2d 1440,
 18   1449 (9th Cir. 1985). And the Privacy Act protects records that are retrievable
 19   using identifying particulars in a government system. See Baker v. Navy, 814 F.2d
 20   1381, 1384 (9th Cir. 1987). The government cannot produce information and
 21   documents subject to the Privacy Act without the entry of a protective order [5
 22   U.S.C. § 552a(b)(11)] and violations of the Privacy Act subject the violator and the
 23   federal agency to criminal penalties [5 U.S.C. § 552a(i)(1)] and civil actions for
 24   damages [5 U.S.C. § 552a(g)(1)(D)].
 25         Here, the records at issue are stored on Sentinel, the FBI’s case-management
 26   systeml. MacDonald ¶ 5. The data comprises personally identifying information.
 27   Id. at ¶¶ 4 and 7. Specifically, information that is retrievable via Sentinel includes
 28   numerous types of information that could either directly identify an individual

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  1   (such as name, address, Social Security number, telephone number, e-mail address,
  2   photograph, or other unique identifying number, code, or characteristic) or that will
  3   indirectly identify an individual (such as gender, race, date of birth, place of birth,
  4   geographic indicator, license number, vehicle identifier including license plate, and
  5   other descriptors). Id. at ¶ 7. Other information about individuals that may be in
  6   Sentinel includes financial account numbers. Id. Information may be about U.S.
  7   citizens, legal permanent residents, or foreign nationals. Id. Information may also
  8   be about living or deceased individuals, and some information may be about
  9   minors. Id. Regarding the inventories of USPV boxes in Sentinel, those records
 10   contain only the identifying information physically housed inside each respective
 11   box or provided to the FBI by the boxholder himself or herself. Id..
 12         Once records are inputted into Sentinel, those records can be retrieved by
 13   authorized users, and the FBI can determine what retrievable information, if any, it
 14   may have in its files on a particular subject matter or individual, by searching
 15   Sentinel. Id. at ¶ 8, In the instant matter, users can retrieve Sentinel-housed
 16   records about USPV boxholders by the identifiers which are most likely present,
 17   usually of the boxholder’s name and /or box number. Id.
 18         Plaintiffs ask the Court to ignore the Privacy Act implications. Moreover,
 19   plaintiffs obfuscate the issue, as the government is not objecting to counsel’s ability
 20   to discuss inventories with non-party class members. Instead, the government is
 21   merely requiring that the non-party class member, like anyone else who receives
 22   CONFIDENTIAL information, be bound by the standard protective order provision
 23   that the information be used “only for prosecuting, defending or attempting to
 24   settle” this Action.
 25         Plaintiffs also obfuscate the issues by arguing that the government’s
 26   proposed (and the Court’s standard) protective order would “leave class members
 27   vulnerable to learning that they have a potential claim, but with no way to assert
 28   that claim.” Not so. As mentioned above, non-party class members who execute

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  1   the Exhibit A addendum to the protective order and later wish to assert a claim
  2   against the government can seek leave to publicly file protected documents as part
  3   of any separate litigation, and as a prerequisite thereto make a request for the
  4   inventory when they submit an administrative tort claim for property they claim
  5   was lost. But there is no reason, in the absence of any pending collateral litigation
  6   against the government for monetary damages for lost or missing property, for the
  7   Court to adjust the Court’s standard protective order in anticipation of any such
  8   future lawsuits or administrative tort claims asserted against the government.
  9         Indeed, plaintiffs case shows this is so, as they cite Foltz v. State Farm Mut.
 10   Auto. Ins. Co., 331 F.3d 1122, 1131 (9th Cir. 2003) for the proposition that the
 11   Ninth Circuit “strongly favors access to discovery materials to meet the needs of
 12   parties engaged in collateral litigation.” (Emphasis added). But Foltz, unlike the
 13   current case, involved a actually filed and pending collateral litigation where the
 14   parties to that collateral litigation (who were not parties to the litigation in which
 15   the protective order was entered) sought to intervene in the litigation and requested
 16   that the protective order be modified so that the intervenors (who were parties to the
 17   filed collateral litigation) could gain access to discovery material produced pursuant
 18   to the protective order. The Ninth Circuit addressed a motion to modify the
 19   protective order when nonparties sought leave for access to documents related to an
 20   already filed collateral lawsuit.17
 21         Here, there is no pending filed collateral litigation. When and if the use of
 22   the inventory comes up in future litigation, the issue can and should be resolved at
 23   that time, rather than speculate in advance about those future cases. The
 24

 25         17
              See also Hunter Engineering Co. v. Hennessy Industries, Inc., 2010 WL
 26   1186454, *4 (E.D. Mo. Mar. 29, 2010) (discussing Foltz in connection with
      pending collateral litigation). Plaintiffs other cases are similarly wide of the mark -
 27   - none of them address the terms of the protective order to be entered in a case.
      Glenmede Tr. Co. v. Thompson, 56 F.3d 476 (3d Cir. 1995) and Marisol A. v.
 28   Guiliani, 1997 WL 630183 (S.D.N.Y. Oct. 10, 1997)

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  1   government respectfully submits that there is no reason to deviate from the terms of
  2   the Court’s standard protective order here.
  3              c. Plaintiffs Incorrectly Assert That It Is Unreasonable To Require
  4                 Them To Provide The Government With Non-Party Class
  5                 Members’ Executed Exhibit A Acknowledgement’s Before
  6                 Providing CONFIDENTIAL Information To Non-Party Class
  7                 Members.
  8         The March 2021 search at USPV has garnered significant news coverage.
  9   One videotape of an inventory conducted by the government was leaked to the
 10   press, and still photographs from that videotape were filed without full redaction in
 11   a case, resulting in the issuance of a sua sponte July 8, 2021 court order requiring
 12   that the attorney who filed the still photographs from the videotape as an exhibit to
 13   the attorney’s declaration redact the faces of the persons appearing in the
 14   photographs,18 yet the full unredacted still photographs remain publicly filed by
 15   plaintiffs in the instant case, without any redactions of the faces. Docket No. 16-4.
 16   In addition, government counsel has been informed by at least one boxholder, in
 17   light of the press that this USPV case has engendered, that that boxholder does not
 18   want the government to reveal that boxholder’s identity to plaintiffs’ counsel in this
 19   case for fear that the press may contact the boxholder or the information will
 20   otherwise be leaked. Rodgers Decl. ¶ 7.
 21
            18
 22            See Search and Seizure of Box No. 8309 at U.S. Private Vaults v. United
      States of America, Case No. 2:21-cv-03554-RGK-MAR, docket no. 14 (in
 23   chambers Notice to Plaintiff and Order “by Judge R. Gary Klausner. The Court has
      placed a temporary seal on Docket Entry 13-1. Plaintiff is instructed to (1) refile
 24   Docket Entry 13-1 with the faces of the individuals depicted therein redacted, or (2)
      show cause in writing as to why the faces of the individuals depicted therein should
 25   not be redacted. Plaintiff shall respond to this order by no later than Friday, July 9
      at 2:00 P.M. Failure to timely and adequately respond may result in an order
 26   striking Docket Entry 13-1 without further notice. THERE IS NO PDF
      DOCUMENT ASSOCIATED WITH THIS ENTRY. (sw) TEXT ONLY ENTRY
 27   (Entered: 07/08/2021).”

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  1         Moreover, as mentioned in the preceding section, the government located
  2   information within boxes containing personal identifying information not only of
  3   the owner of particular boxes, but of third parties, as well. Furthermore, in order to
  4   support plaintiffs’ contention that the video inventory reflects a violation of the
  5   search warrant, plaintiffs themselves offer the affidavit of an attorney, and not of a
  6   box holder, who argued that the still photographs from the videotape show the
  7   government exceeded the scope of the search warrant, so there would be no need to
  8   supply information to non-party boxholders. See first paragraph of Plaintiff’s
  9   Introductory Statement, citing ¶¶ 6-15 of Exhibit J [attorney declaration] to
 10   Frommer Decl.
 11         But the point is that the government needs to have the information, as
 12   provided in the standard protective order’s Exhibit A, to immediately police
 13   violations of the protective order, not only as against a class member boxholder
 14   who decides to violate the order, but to make clear to any other class members that
 15   any misuse of videos by the recipient of the video (which again contains identifying
 16   personal identifying information of third parties) will not be tolerated. The
 17   government has that ability, as to the class member plaintiffs because they are
 18   parties to the action. Exhibit A, which requires class members to appoint a
 19   California agent for service of process in connection with this action or any
 20   proceedings related to enforce the protective order, contains the information the
 21   government needs in order to enforce violations of the order as to breaching non-
 22   party class members.
 23         Plaintiffs point out that the government’s protective order does not require
 24   Exhibit A to be supplied to the government for experts (but, of course, this would
 25   have to be disclosed if plaintiffs decide to offer the testimony of the expert witness
 26   at trial) and professional jury or trial consultants, mock jurors, and Professional
 27   Vendors [as defined in the standard protective order], as reflected in the Court’s
 28   standard order. But plaintiffs have overlooked one key fact - - the standard

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  1   protective order does not permit, as the government told plaintiffs it would permit
  2   here (even though the government believes that any such disclosure is entirely
  3   unnecessary), a Receiving Party (meaning a party to the action who receives
  4   CONFIDENTIAL information) to provide CONFIDENTIAL information to third
  5   parties (like the non-party class members). And as to third parties, such as
  6   deponents, the standard protective order requires that the deponent sign Exhibit A
  7   during their depositions when all parties are present. Accordingly, if plaintiffs wish
  8   to disclose CONFIDENTIAL information to third parties like non-party class
  9   members, there is nothing inappropriate in requiring them to provide Exhibit A to
 10   the government before doing so.
 11      B. Plaintiffs Seek An Order Requiring Defendants To Respond To
 12          Plaintiffs’ Pending Discovery Requests Within Three Days Of Entry Of
 13          The Protective Order
 14         1. Plaintiffs’ Contentions
 15              a. The Government Has Delayed Responding To Discovery
 16         During its November 8, 2021, scheduling conference, the Court set the
 17   deadline for the parties’ opening trial briefs for June 21, 2022, and scheduled the
 18   trial for July 26, 2022. Minutes of Scheduling Conference, Frommer Decl. Ex. A.
 19   Plaintiffs have reason to believe this schedule will remain fixed, given that the
 20   Court previously denied a joint request by the parties to extend a deadline. (Order
 21   Den. Joint Stipulation to Continue Class Cert. Hr’g, D.E. 73 (Sept. 2, 2021)).19
 22   Plaintiffs’ counsel thus re-iterated to counsel for the government after the
 23   scheduling hearing that the parties would need to work expeditiously on discovery
 24   given the short timeframe. Frommer Decl. ¶ 3 & Ex. B at 10. Indeed, Plaintiffs
 25   served their substantive written discovery requests before the scheduling conference
 26
            19
               Given the government’s delays so far, Plaintiffs anticipate requesting
 27   additional time for discovery, but they cannot assume that the Court will grant that
 28   request.

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  1   (id. ¶ 2), precisely so the parties could quickly complete written discovery with
  2   sufficient time to take depositions and then prepare trial briefs by the Court’s
  3   deadline.
  4         The government, however, has dragged its feet. Over four months after
  5   Plaintiffs served their written discovery requests in early November, the
  6   government has produced essentially nothing. Id. ¶ 11.
  7         On November 29, 2021, the government requested a 37-day extension of the
  8   discovery response due on December 8. Frommer Decl. Ex. B at 13–14. “In light of
  9   the holidays and other press of business,” the government explained, it was “not
 10   possible for the government to respond to the discovery by the current deadline.”
 11   Id. After explaining that it was “imperative the parties keep to the schedule that the
 12   Court laid out at the November 8 scheduling conference,” Plaintiffs’ counsel
 13   suggested that the government provide any objections on December 8, so that the
 14   parties could begin resolving any discovery disputes while the government
 15   completed its substantive responses. Id. at 12, 13.
 16         Counsel for the government rejected that compromise, explaining that he
 17   could not formulate objections until he had “all the documents I intend to produce
 18   and other information I have that is responsive and requires a substantive response
 19   to the interrogatories.” Id. at 11. And because “the FBI employees who must
 20   assemble the documents necessary to respond to discovery” had been or would be
 21   taking vacations, it would be “impossible” for the government to have those
 22   documents prepared in time to provide objections by the December 8 deadline. Id.
 23   at 10-11. Plaintiffs therefore agreed to a thirty-day extension to January 7 (id. at 9),
 24   understanding that the government also would provide courtesy copies of its
 25   responses by email on January 7 (id. at 11).
 26         On the morning of January 10, 2022, Plaintiffs’ counsel emailed the
 27   government about the email courtesy copies of the government’s discovery
 28   responses, which the government provided at the end of that day. Frommer Decl.

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  1   ¶ 6. Those responses contained boilerplate objections to almost every interrogatory
  2   and request for production, other than a cursory response to interrogatory number
  3   12 and an agreement to produce the warrant application and warrant in response to
  4   request for production number 11. Frommer Decl. Ex. C at 21, Ex. D at 31; cf. Fed.
  5   R. Civ. P. 34(b)(2)(C) (“An objection must state whether any responsive materials
  6   are being withheld on the basis of that objection.”). The response to Request for
  7   Production Number 7 is representative of the government’s boilerplate objections:
  8         REQUEST FOR PRODUCTION NO. 7:
  9                All internal policy documents applied to guide the conduct of law
 10         enforcement officials during the March 2021 search of U.S. Private Vaults,
 11         including but not limited to complete and unredacted copies of all pertinent
 12         provisions contained in the FBI’s 2016 Domestic Investigations and
 13         Operations Guide.
 14         RESPONSE TO REQUEST FOR PRODUCTION NO. 7:
 15                Defendants objects that this request (1) seeks information protected by
 16         the law enforcement evidentiary privilege or the investigatory file privilege;
 17         (2) seeks information protected by the deliberative process privilege; (3) fails
 18         to identify the documents sought with reasonable particularity; (4) is overly
 19         broad; (5) seeks information neither relevant to the subject matter of this
 20         action nor reasonably calculated to lead to the discovery of admissible
 21         evidence; and (6) seeks information protected by the right of privacy and the
 22         Privacy Act, which will not be produced until such time as a mutually
 23         acceptable protective order is entered in this case.
 24   Frommer Decl. Ex. D at 29. On January 14, the government turned over the sole
 25   document it has produced in this litigation: the 246 pages constituting the warrant
 26   application materials and warrant, which had been previously unsealed in a related
 27   action. Frommer Decl. ¶ 10.
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  1         Plaintiffs immediately sent a deficiency letter to the government on January
  2   12 requesting a discovery conference under Local Rule 37-1 within 10 days.
  3   Frommer Decl. Ex. E at 43. Plaintiffs again stressed that “given the schedule in this
  4   action, Plaintiffs also respectfully ask that Defendants avoid further unnecessary
  5   delay in the future.” Id. at 35. The government provided available times for the
  6   discovery conference on January 24, 2022. Frommer Decl. ¶ 9.
  7         During the January 24 conference, the government said for the first time that
  8   it would only respond to most of Plaintiffs’ discovery after the entry of a protective
  9   order. Id. ¶ 12. And despite having previously said that the government would
 10   compile the relevant documents before objecting, the government further explained
 11   that it would take a few more weeks to provide other discovery such as the written
 12   inventories. Id. Straightforward information such as identifying class members and
 13   the agents who searched the boxes would take a week. Id. Plaintiffs again stressed
 14   the importance of conducting discovery diligently given the looming Court
 15   deadlines and reiterated that point in a letter provided later that same day. Id.;
 16   Frommer Decl. Ex. F at 45.
 17         The government provided its proposed protective order on January 27, 2022.
 18   Frommer Decl. Ex. G at 54. Plaintiffs largely agreed with the proposed terms, other
 19   than to seek clarification and modification of the restrictions on disclosing
 20   information to specific class members of the government’s inventory of that class
 21   member’s box. See supra § II.A.3. Yet even this process dragged on as the
 22   government typically took two to three days to respond to Plaintiffs’ inquiries and
 23   proposals. See Frommer Decl. Ex. G at 49–50, 51–52, 53.
 24         Finally, on February 10, the parties agreed to seek assistance from the Court
 25   to resolve their dispute over the protective order. Frommer Decl. ¶ 14. The parties
 26   emailed the Court pursuant to the Court’s standing order on February 11, and on
 27   February 14 the Court instructed Plaintiffs to move to compel.
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  1             b. The Court Should End The Government’s Unjustified Delays By
  2                 Ordering Responses To The Remaining Discovery Within Three
  3                 Days After Entry Of The Protective Order
  4         There is no reason for four months to elapse with no meaningful discovery
  5   responses from the government. First, as much as the absence of a protective order
  6   is delaying discovery, the government could have raised this before or on the
  7   original December 8, 2021 deadline to respond to Plaintiffs’ discovery. It was
  8   unreasonable for the government to wait until January 27—almost three months
  9   after Plaintiffs served their discovery requests—to provide its proposed protective-
 10   order language.
 11         Second, it is not clear why the dispute about the protective order should halt
 12   all other discovery. Request for Production No. 7, for example, does not seek
 13   personally identifying information about anyone, only information about the
 14   government’s policies. Yet Defendants have withheld that information too.
 15         Third, it is unreasonable for the government to anticipate taking several
 16   additional weeks to produce documents following entry of the protective order. The
 17   government only requested an extension to respond so that it could first compile all
 18   the responsive documents and information before responding. Therefore, the
 19   government’s own representations show that these discovery materials are already
 20   at the government’s fingertips. Moreover, because the only current dispute concerns
 21   the scope of the protective order (which both parties have agreed will be entered in
 22   some form), there is no doubt about what the government will produce once the
 23   protective order is entered. There is therefore no reason why the government cannot
 24   prepare these productions now and provide them to Plaintiffs immediately after
 25   entry of the protective order, and certainly no reason why the government could not
 26   do so within 3 days.
 27         Plaintiffs’ counsel has emphasized to the government on November 8,
 28   November 29 (three times), January 12, January 24 (twice), and February 4 that the

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  1   parties need to move expeditiously to complete discovery. The time to complete
  2   discovery before the impending deadlines is running out quickly, and even if there
  3   are no further disputes it will be difficult if not impossible to complete depositions
  4   within the allotted time. The danger of prejudice to Plaintiffs and the certified class
  5   is significant. Plaintiffs therefore request that the Court enter an order requiring the
  6   government to respond to all pending discovery requests within 3 days of entry of
  7   the protective order.
  8         2. Defendants’ Contentions - - Plaintiffs’ Request For An Order
  9              Requiring The Government To Respond To Plaintiffs’ Unspecified
 10              Discovery Requests Within Three Days Of Entry Of A Protective
 11              Order Should Be Denied.
 12         Plaintiffs make a host of false accusations concerning the government’s
 13   purported delays in discovery, first correctly noting that the government requested
 14   an approximately 30 day extension of discovery during the holidays (yet plaintiffs
 15   ignore in their brief the fact that they only begrudgingly granted the extension after
 16   multiple requests by the government and the government having to threaten to bring
 17   the matter to the Court’s attention [Frommer Decl. Ex. B page 9]) before the
 18   extension was granted. Then, plaintiffs argue that the government agreed to email
 19   discovery responses, but the government never made any such agreement (and
 20   plaintiffs exhibits do not reflect any such agreement). Nevertheless, the
 21   government emailed the responses as plaintiffs requested.
 22         In addition, plaintiffs contend that during a January 24, 2022 conference the
 23   government stated, purportedly for the first time, that it would not produce the
 24   discovery until after a protective order was entered, yet none of that is true as the
 25   government’s discovery responses make plain (and even plaintiffs’ own January 24,
 26   2022 letter make clear), the government cannot produce the records until the time
 27   frames set forth therein pass once a protective order is entered. Furthermore, while
 28   plaintiffs point to statements made by the government before responsive documents

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  1   had been assembled, the government cannot make its final objections or stamp the
  2   large quantity of documents with the appropriate legend as called for by the
  3   protective order, until such time as it knows the terms of the protective order. As
  4   promised by plaintiffs, once the protective order is entered it will produce, and will
  5   continue to produce in waves as the documents and items are available, any
  6   documents being withheld from discovery solely on grounds that no protective
  7   order has yet been entered in this case.
  8         More to the point, plaintiffs’ request (assuming that is what plaintiffs are
  9   requesting, but it is not entirely clear) that the government produce documents,
 10   within three days, in accordance with plaintiffs “pending discovery requests” is in
 11   clear violation of Local Rule 37 and should be denied for that reason alone. Local
 12   Rule 37-2.1 provides as follows:
 13         L.R. 37.2.1 Form of Joint Stipulation. The stipulation must be set
 14         forth in one document signed by both counsel. The stipulation must
 15         contain all issues in dispute and, as to each such issue, the contentions
 16         and points and authorities of each party. The stipulation may not refer
 17         the Court to any other documents. For example, if the sufficiency of
 18         an answer to an interrogatory is at issue, the stipulation must contain,
 19         verbatim, both the interrogatory and the allegedly insufficient answer,
 20         followed by each party’s contention as to that particular interrogatory,
 21         separately stated. . . . When a party states its contentions on a
 22         particular issue, such party must also state how it proposed to resolve
 23         the dispute over that issue at the conference of counsel.
 24   (Emphasis added). Similarly, the Court’s website provides “[s]trict compliance
 25   with Local Rule 37 is required” relative to the filing of a discovery motion.
 26   Plaintiffs joint statement does not quote any specific interrogatory or document
 27   request at all, except for document request number 7, yet plaintiffs papers as to that
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  1   request do not comply with Local Rule 37.2.1 because plaintiffs have not set forth
  2   their contention or the government’s contention as to that discovery request.
  3         For the reasons set forth above, the government requests that plaintiffs
  4   request that the government “respond to plaintiffs’ pending discovery requests
  5   within three days of entry of the protective order” be denied.
  6   Dated: March 9th, 2022                     Respectfully Submitted,
  7
                                                      /s/ Robert Frommer                s
  8
                                                    THE INSTITUTE FOR JUSTICE
  9                                                 Robert Frommer*
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 10                                                 Joseph Gay^
                                                    jgay@ij.org
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 15                                                 Tel. (703) 682-9320
 16                                                 *Admitted pro hac vice.
 17                                                 ^Motion for pro hac vice pending.
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                                                    Attorneys for Plaintiffs
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                            PARTIES’ LOCAL RULE 37-2 JOINT STIPULATION
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                                 #:1182


  1   Dated: March 9th, 2022
                                                 Respectfully Submitted,
  2
                                                     TRACY L. WILKISON
  3                                                  United States Attorney
                                                     SCOTT M. GARRINGER
  4                                                  Assistant United States Attorney
                                                     Chief, Criminal Division
  5
                                                         /s/ Victor A. Rodgers
  6
                                                     ANDREW BROWN
  7                                                  VICTOR A. RODGERS
                                                     MAXWELL COLL
  8                                                  Assistant United States Attorneys

  9                                                  Attorneys for Defendants
                                                     UNITED STATES OF
 10                                                  AMERICA and
                                                     TRACY L. WILKISON and
 11                                                  KRISTI KOONS JOHNSON IN
                                                     THEIR OFFICIAL CAPACITY
 12                                                  ONLY

 13   In compliance with Local Rule 5-4.3.4(a)(2)(i), I hereby attest that all other
 14   signatories listed, on whose behalf the filing is submitted, concur in the filing’s
 15   content and have authorized the filing.
 16

 17   DATED: March 9th, 2022
                                                      By: /s/ Robert Frommer
 18
                                                      Robert Frommer
 19                                                   Attorneys for Plaintiffs
 20

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                            PARTIES’ LOCAL RULE 37-2 JOINT STIPULATION
